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                                                      15                          IN THE UNITED STATES DISTRICT COURT
                                                      16                                FOR THE DISTRICT OF NEVADA
                                                      17   CRISS L. ROGERS,                                           Case No. 2:19-cv-01581-APG-BNW
                                                      18                                 Plaintiff,                       JOINT STATUS REPORT
                                                      19
                                                                   v.
                                                      20
                                                           C. R. BARD, INCORPORATED and BARD
                                                      21   PERIPHERAL VASCULAR, INCORPORATED,
                                                      22
                                                                                          Defendants.
                                                      23

                                                      24          Plaintiff Criss L. Rogers (“Plaintiff”) and Defendants C. R. Bard, Inc. and Bard Peripheral

                                                      25   Vascular, Inc. (“Defendants” and collectively with Plaintiff, the “Parties”), hereby file this Joint

                                                      26   Status Report.

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                                                       1          On November 20, 2020, this Court granted the Parties’ Stipulation to Stay Discovery and All

                                                       2   Pretrial Deadlines until January 4, 2021, to allow the Parties time to engage in settlement discussions.

                                                       3   [ECF 46.]

                                                       4          The Parties have been working diligently and in good faith since the entry of the stay to reach

                                                       5   settlement in this matter but have been unable to come to an agreement.

                                                       6          Since the discovery deadlines are long since passed, the Parties respectfully request they have

                                                       7   until January 15, 2021, to file an Amended Stipulated Discovery Plan and Scheduling Order.

                                                       8          Respectfully submitted January 8, 2021.

                                                       9

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                                                      22                                                                 Counsel for Defendants
                                                      23
                                                                                                  ORDER
                                                      24                               IT IS SO ORDERED
                                                      25                               DATED: 4:20 pm, January 11, 2021
                                                      26

                                                      27
                                                                                       BRENDA WEKSLER
                                                      28                               UNITED STATES MAGISTRATE JUDGE

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